Case 1:15-cv-02446-CMA-GPG Document 15 Filed 02/04/16 USDC Colorado Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO
                                   Alfred A. Arraj United States Courthouse
                                        901 19th STREET, ROOM A1038
                                         DENVER, COLORADO 80294

  WILEY Y. DANIEL                                                             TELEPHONE: (303) 335-2170
  UNITED STATES SENIOR DISTRICT JUDGE                                         TELECOPIER: (303)335-2178




                                        MEMORANDUM

  TO:            Jeffrey P. Colwell, Clerk
                 Attn: Senior Judge Team

  FROM:          Judge Wiley Y. Daniel

  DATE:          February 4, 2016

  RE:            Civil Action No. 15-cv-02446-WYD-KMT
                 DARRELL VIGIL v. WELLS FARGO HOME MORTGAGE, d/b/a
                 WELLS FARGO BANK, N.A.

        Exercising my prerogative as a Senior Judge, I request that this civil
  action be reassigned.
